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Overall Program Statistics
(Status Report as of April 11, 2012)

& This is:a unigue count that: includes ail mergency Advance meri oe Bape SCP gach ag
1, Individual vo 454,680 _

2. Business , 122,561
Claimants Represented by Counsel: 95,407,

CorentC Claimant mt Status i = i Boe . ms - ee pe No. of Clair ran

Reviewed - Phase ll ‘Only ~ 378,381

1. Final Payment Issued 199,066
a. Quick Payment a 129,275

b. Full Review 69,791
2. Final Release Accepted Pending Payment 156
3. Final Offer Acknowledged Pending Accepted Release _ . 2,066
4. Final Offer Made 8,922

With Interim Payment (3,826 out of these 8,922 Final Offers)

5, Other Claim Determinations: 168,171.
_ a. Claimants Without an Established Loss 14,516
b, Withdrawal Requested 515
c. Claimants Notified Additional Information Required ~~ 14,060
d, Claimant Denied eee 139,080
Under Review ces 8.019
1. Phase II - Interim & Final 7,942

2. Phase |- EAP Unresolved / Under Review (Claims Subject to Liens, Audit Holds, ete

Claimants with Resolved EAP Submissions |
: 2 (Many EAP: Claimanis have razfited in thé- Phase. tt Interim and Final Claim'Stage

Paid Claimants | Total
Total Unique Claimants 2 220, 648 G
1. Quick Pay / Full Review / Interim Payment _. _ 945, 196 $ 3, 668, 159, ‘066. af
a. individual coiectunnenennnnenensvnnadccannaavend OE | E 1,316,058, 632.25
6. Business 71,214 $ 2,362, 100,534.32
2. Emergency Advanced Payment (EAP} 169,201 $ 2,583,962,060.28
a, Individual oer nnn 121, 197 $ 1,018,377,655.90
6. Business 48,004 § 1,568,584,404.38
eparate Fund for Real Estate Brokers and Agents $ 54,434, 0/4, 75
Se Eee See ES = Total Paid: $ - 6,306,555,701.60.-

iled Claims 2 | SUNS Hae oo
AB4,633 So Bee bp. cep | geo PES 22 5.1,935,485,000.00

Total Qu ick Pay Fi Final Payments... :

1. individual 96,784 96,288 476,600,000.00
2. Business 34,849 34,595 848,885,000,00

“Claimants with:|= 2.

nerim Payments “Filed Claims. |Reviewed Claimants’) Paid Clalmante

Total. Interim Payments coe Bp Pie AS a BBO] Con ARG PBT ooo BFR Ey Bree 518, 0dd 983.63
1. Individuai 92,998 sor 21,689 g 162,992,668.95
2. Business 40,591 38,244 14,228 $ 350,057,714.68
Details on Interim Claimants, including Status are reflected on Page 19 of this rapart

ij Hci icia Ritual Pairikente ce: ceo iS halmants with: |e eee es
ull Bevlew Final Payments ‘Filed Claims. |."

» 4/829,629.682.94

<Tq59.308 =

Total:‘Full Review Final Payments | ns "462,730 —
1. Individual 122,478 120,550 676,465,963.30
2. Business 40,252 | 38,758 1,153,163,719.64

Full Review Final-Payment Ofets =): :
i(inclisive -of Offers with fetease Accson and fi nat Payient ised

“Total FinaliOfiers <<: 14 § 9. 2495,887/584:75
1. Final Offers: individuai _ $ 573,864,008,74
‘2. Final Offers: Business 32,098 |$  1,621,723,576.01

Overall Program Statistics (1 of 10)

:-4;853,582,463.76
514,947, 188.71,
1,338,635,325.05

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Overall Program Statistics
(Status Report as of April 11, 2072)

- Claimant Submissions
{Quick Pay, inferim and Full Review Claimants only}

“Claimants: with’
'Filed-Claims:

‘Reviewed Claimants | “Paid Claimants _

All Submitted and Paid Claimants

1,325,485,000.00

_ 1. Final: Quick Pay 131,633 130,883 120,275 5
2, Final: Full Review (net of Claimants with
Quick Payment or interim Submissions) 162,730 189,308 70,004 $ 1,829,629,682.94
3. Interim Payment ¢net of Ciaimanits with
uick Paimment Gubmisstones 133,589 129,751 35,917 $ 513,044,383.63
$

Total _ 427,952 A19,942 235,196 3,668,159,066.57

2 Claimants with :

|and Paid Claimants - indi ‘Reviewed Claitriants

ms i fees = Piled Ghaims:: EDEN Sn Woonona oe

1, Final; Quick Pay 96,784 96,288 85,208 476,600,000.00

2. Final: Full Review (net of Cait i

Quick Payment or Interim Guomscire) “a 122,476 120,550 46,995 876,465,963.30

3. Interim Payment {net of Claimants witht 92.998 91.507 21.689 162,992 608.95

Quick Payment Submissions) , , : * ’
1,316,058,632.25

Sub-Total 312,260 308,345 163,982

aid Claimants

| Heviewed Claimants.
34,505 ag.art

Subinitted and Paid Cl:
41. Final: Quick Pay

848, 885,000.00

2. Final: Full Review (net of Claimants with
| Quick Payment or interim Submissions) 40,252 38,758 23,009 1,153,163,719.64
3. Interim Payment (net of Claimants with
Quick Payment Submissions) 40,691 38,244 14,228 350,051,714.68
Sub-Total ; 115,692 111,597 i 71,214 2,352, 100,434.32 5

All Claimants with Filed Claims

3. Interim Payment (net of
Claimants with
Quick Payment Submissions)
31.22%

1, Final: Quick Pay
30.76%

2. Final: Full Review {net of
Claimants with
Quick Payment or Interim
Submissions)
38.03%

3. Interim Payment (net of Amount Paid to All Claimants
Claimants with

Quick Payment Submissions}
13.95%

1, Final: Quick Pay
36.13%

2, Final: Full Review (net of
Claimants with
Quick Payment or Interim
Submissions)

49, 88%

Overall Program Statistics (2 of 10)
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Overall Program Statistics
(Status Report as of April 11, 2012)

Individual Claims by Amount
(Claimants may have more than one Claim Category)

Paid Claims byAmount

|) No.of Claims:

Amount Pai

1. $0.01 - $5,000.00

772,598,921 .94

182,512 $
2. $5,000.01 - $40,000.00 53,684 $ __ 399, 175,894.18
3. $10,000.01 - $25,000.00 “40,643 $ 620,824 ,164.28
4, $25,000.01 - $100,000.06 BAGO 318,834 008.55 |
5. $100,000.01 - $500,000.00 155 $ 22,019, 199.20
6. Over $500,000.00 42 $ +98, 190,700.00
Total 285,487 $ an 22331436, 288,15 |

6. Qver $500,000.00
0.01%

5. $100,000.01 ~ $500,000.00
0.05%

4. $25,000.01 - $100,000.00

3. $10,000.01 - $25,000.00
14.24%

2.96%

2, $5,000.01 - $10,000.00.
18.80%

Individual Claims Paid by Value Range

1.50.04 - $5,000.00
63.93%

Individual Amount Paid by Value Range

6, Over $500,000.00

8.50%

5. $100,000.02 - $500,000.00.
0.94%

4, $25,000.01 - $100,000.00
13.67%

3. 510,000.01 - $25,000.00

26.63%

Overali Program Statistics (3 of 10)

1.90.01 - $5,000.00

33.14%

2. $5,000.04 - $10,000.00

17.12%

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Overall Program Statistics
(Status Report as of Aprit 11, 2072)

Business Claims by Amount
(Claimants may have more than one Claim Category)

Paid Claims by Amount de paid
1. $0.04 - $5,000.00 _. $ 48,015,527.09
2. $5,000.01 - $10,000.00 42,322 § 91,904,206,05
3. $19,000.01 - $25,000,00 oo. 65,424 $ 1,483,785 ,586.44
4. $25,000.01 - $100,000.00 20,059 $ 977,500,617.23 |
5. $100,000.01 - $500,000.00 4,285 $ 780,754,016.52
6. Over $500,000.00 321 $ 540,724,891.37

Total . 119,560 $ 3,920,684,838.70

5. $100,000.04 - $500,000.00 Business Claims Paid by Value Range 6. Over $500,000.00
3.58% 0.27%

4, $25,000.01 - $100,000.00
16.78%

1, $6.01 - $5,000.00
14.34%
2. $5,000.02 - $20,000.00
10.31%

3. $10,000.01 - 525,000.00
54.72%

Business Amount Paid by Value Range

5. $100,000.01 - $500,000.00
19.91%

4.525,000.04 - $100,000.00
24.93%

6. Over $500,000.00
13.78%

1.90.01 - $5,000.00
1.17%

3, $40,000.01 - $25,000.00. 2. $5,000.01 - $10,000.00
37.85% 2.34%

Overalt Program Statistics (4 of 10)
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Qverall Program Statistics
{Status Report as of April 11, 2012)

Claims by Category and Amount
(Claimants may have more than one Claim Category}

Paid Claims by Category and Amount.
1.RemovalandCleanUpCosts ==
a. $0.01 - $5,000.00 — oO 81 $ 179,748.90
b. $5,000.04 - $10,000.00 16 $ 118,070.24
c. $40,000.01 - $25,000.00 29 $ 624,575.01
d. $25,000.01 - $100,000.00 5 $ 229,034.00
e. $100,000.01 - $500,000.00 5 $ 884,906.95
f. Over $500,000.06 i $ 681,518.07
Sub-Total 137 $ 2,717,853.17
2. Real or Personal Property
a, $0.01 - $5,000.00 221 $ 713,91
ee 605 1 $10,000.00 5 440363 14
c. $16,000.01 - $25,000.00 72 $ 1,243,863.24
d. $25,900.01 = $100,000.00 31S ~_1,568,088.60
e. $100,000.01 - $506,000.00 6 $ 1,382,995.47
f, Over $500,000.00 2 $ 1,563,800,00
‘Sub-Total 394 $ --5:913,004.34
3. Lost Earnings or Profits no.
a. $0.01 - $5,000.00 199,172 $ 817,384,424.16
b, $5,000.01 - $10,000.00 65,914 $ 490,422,551,43
c. $10,000.01 - $25,000.00 105,960 $ 2,102,656,954.04
d. $25,000.04 - $100,000.00 28,473 $ 1,294,334,523.18
e. $100,000.01 - $500,000.00 4,430 $ 800,505,307.30
7. Over $500,000.00 318 $ 538,479,573.30
|Sub-Total 404,267 $ 6,043,783,333,38

Overall Program Statistics (5 of 10)
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Overall Program Statistics
(Status Report as of April 17, 2072)

Claims by Category and Amount
{Claimants may have more than one Claim Category}

'Pald Claims by Category and Amount "Amount Paid
4. Loss of Subsistence Use of Natural Resources i
_.. $0.01 - $5,000.00 95 § 165,269.96
b. $5,000.01 - $10,000.00 13 $s 91,972.56
¢. $10,000.01 - $25,000.00 i 5 "12,129.62
d. $25,000.01 - $100,000.00 0 $ :
e, $109,000.01 - $500,000.00 0 $ :
f, Over $500,000.00 0 $ -
Sub-Total 109 $ 269,372.14
‘_§. Physical Injury / Death
a. $0.01 - $5,000.00 92 $ 170,492.12
b. $5,000.01 - $10,000.00 1 $ 7,742.86
c. $10,000.01 - $25,000.00 5 $ 69,228.84
d. $25,000.01 - $100,000.00 0 $ :
®. $100,000.04 - $500,000.00 0 $ -
f, Over $500,000.00 42 $ 198,190,700.00
‘Sub-Total 140 $ 198,437,563,82 |
6. Other Claims
a. $0.01 - $5,000.00 0 $ -
b, $5,000.01 - $19,000.00 O § -
c. $10,000.01 - $25,000.00 0 § :
d, $25,000.01 - $100,000.00 9 $ -
@. $100,000.04 - $500,000.00 a $ -
£, Over $500,000.60 0 § -
‘Sub-Total Q $ :
[Total 20.25 SADE OAT 0] $2121 126 BS:|

Overall Program Statistics (6 of 10)

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Overall Program Statistics
(Status Report as of April 17, 2012)

Individual Lost Earnings or Profits Claims Paid by Indusiry
(Claimants may have more than one Glaim Gategory)

11,476 ‘ts 133,388,354.71

Food, Beverage and Lodging 148,893 $ 994 603,863.46
Multiple Industry / Business Types 21,707 $ 221,803,539,30
No Industry Designation 323 $ — 2,573,924 20

Rental Property ies) on scsnsnsurnannnrsmm sau . econo 219 $ 34,612,419.84
Retail, Sales and Service 82,036 $ 614,825,803.26
Seafood Processing and Distribution 9,387 § 83,626,777.60
Tourism and Recreation 6,954 $ 44,512,076,59 |
Total 284,986 $ 2,130,036,759.43

# of Individual Claims Paid by Industry Seafood Processing and
Distribution
Retail, Sales and Service ne 3.29%
2.44%

Rental Propertyties)

Fishing
1.48% 4.03%
No Industry Designation
O.11%

Multiple Industry / Business

Types Food, Beverage and Lodging
7.62% 52.25%
Amount of Individual Claims Paid by Industry Seafood Processing and
Retail, Sales and Service a Deion
% a
28.86% Tourism and Recreation
2.09%, rishi
Rental Propertyties) a "8
26%

1.62%

No Industry Designation
0.12%

Multiple industry / Business
Types

10.41% Food, Beverage and Lodging

46.70%

Overall Program Statistics (7 of 10)
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Overall Program Statistics
(Status Report as of April 11, 2072)

Business Lost Earnings or Profits Claims Paid by Industry
(Claimants may have more than one Claim Category)

Paid Claims By.Industry - 22) Salo. oF Glaima ount' Paid: =
Fishing - _ 19,374 1 § 618,313,257.26
Food, Beverage and Lodging eee 12,092 $ 639,104 588.94
Multiple Industry / Business Types wee 7,485 $ 206,655,568.94
No Industry Designation _ 3,800 $ 81,268,501.33

._..Rental Property(ies) _ seve 31,134 $ 652, 754,120.63
Retail, Sales and Service 44,360 $ 1,301,296,937.16
Seafood Processing and Distribution a. 1,819 “— $ 307,291 BI115,
Tourism and Recreation 2,217 $ 107,061 788.54

Total - 119,281 | 8 3,913,746,573.95 |

Tourism and Recreation # of Business Claims Paid byIndustry — Fishing

1.86%

16.24%

Seafood Processing and

. . a ,B .
Distribution Food overage and Lodging
1.52% 14%
Multiple Industry / Business
Types
6.28%

Retail, Sales and Service

34.67% No Industry Designation
Rental Propertyties) 3.19%
26.10%
Tourism and Recreation Amount of Business Claims Paid by Industry Fishing
2.74% 15.80%

Seafood Processing and

~~, Food, Beverage and Lodging
Distribution g 16.33%
7.85%
Multiple Industry / Business
Types
5.28%

No Industry Designation

Retail, Safes and Service. 2.09%

33.25% .
Rental Propertylies}

16.68%

Overall Program Statistics (8 of 10)
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ou

Overali Program Statistics
(Status Report as of April 11, 2012)

Claims by State of Residence
(Claimants may have more than one Claim Type)

State of Residence " Submitted Claims Amount Pad :
Louisiana 376,499 122,061 § “4,792,091, 184.28
Florida 367,726 165,417 $ 2,340,715,513.38
Alabama 442,834. | 64,690 $ 941, 164,086.07
” Mississippi 109,959 34,382 $ 559,407,578.07
Texas ~~ 24,755 6,636 § 242,755,524 64
Others 49,293 21,861 $ 375,087 240.41
Tet eee 1,070,995 406,047 8 6,252,121,126.85 |
MS # of Claims 3 vm Amount Paid for assay
by State a“ Other AL Claims by State _

4.60% 15.05%.

FL
37.44% LA

Claims by State of Loss
(Claimants may have mare than one Claim Type)

Claim State of Loss: "Submitted Clainis |” Paid Claim
Louisiana _. 253,642 122,924 $ 1,789, 107,626.44
Florida 331,975 179,928 $ 2,874,246,081.21
Alabama 141,373 58,189 $ 1,000,645,419.99
Mississippi 33,071 $ 460,367,104,98
Texas 4,385 $ 247 378,742.02
Other State / Pending Location Verification 6,550 $ 180,376,152.24
Total seca 405,047 $ 6,252,121,126.85
# of Claims MS Amount Paid for MS
AL 9.94% ™ AL ; 1.36%
14.11% by State 1.78% 46.00% Claims by State ‘
Other
2.89%
FL LA FL oN
42.05% 32.12% ALA7% 8.625

Overall Pregram Statistics (9 of 10}
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Overall Program Statistics
(Staius Report as of April 11, 2012)

Interim Claim Payment ("IP")

IP Claimants by State
14%

11%

= TOTALIP Claimants“:
(Claimants may have oie or more,
1. IP Claimants issued Interim Payment®
~~ “340,74 Oof these 35,917 Claimants have also received a Final Payment
2. $0 Determined Logs for Interim: Final Offer Made and Accepted™
“In all, 40,956 Interim Claimants have recelved Final Payment cee
3. $0 Determined Loss for Interim: Final Offer Made, Pending Acceptance 3.762 a
or Verified Release***
* Brion payments
4. IP Claimants Denied oe
5. IP Claimants Requiring Additional Information or Documentation 16,739 wLA BEL MAL BMS @TX
6. IP Claimants Under Review

je by BP and GCCF resulted in $0 additional losses

iP-Claimants by Claimant type):
(Claimants may-‘fhave one or more Claim Category)
1. Individual

2. Business

Represented Claimants: 46,781

513,044,383.63
513,044,383.63

Interim Payment
‘Total

IP. Payments by Category’:
“cA ineludes Individdal and Business)! JENIN
984,648.27

4. Removal and Clean Up Costs

2. Real or Personal Property 555,539.82

3. Lost Earnings or Profits 36,182 3511,308,064.15

4. Loss of Subsistence Use of Natural Resources 64 5 166,262.64

5. Physical Injury / Death 16 B 29,871.75
Total 36,327 t 513,044,383.63

Overall Program Statistics (10 of 10)
